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      5
          Attorney for Defendant,
      6   DAVINDER SINGH

      7

      8
                                IN THE UNITED STATES DISTRICT COURT
      9
                             EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10
                                                      *****
     11

     12
          UNITED STATES OF AMERICA,                     ) Case No.: CR-F-08-0361 OWW
                                                        )
     13
                       Plaintiff,                         STIPULATION FOR CONTINUANCE
                                                        )
                                                          AND ORDER THEREON
     14                                                 )
                vs.
                                                        )
     15
                                                        )
     16   DAVINDER SINGH,                               )
                                                        )
     17                Defendant.
                                                        )
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                IT IS HEREBY STIPULATED between the Defendant, DAVINDER SINGH, by and
     20
          through his respective attorney-of-record, Anthony P. Capozzi and Plaintiff, by and through
     21
          Assistant United States Attorney, Karen A. Escobar, that the hearing now set for Monday,
     22
          March 1, 2010 be continued to Monday, March 29, 2010, at 9:00 a.m.
     23
                It is further stipulated by the parties that any delay resulting from this continuance
     24
          shall be excluded on the following basis:
     25
                (1)         Title 18, United States Code, Section 3161(h)(8)(A) -- that the ends of
     26
                            justice served by taking such action outweighs the best interest of the
     27
                            public and the defendant in a speedy trial;
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                                                                                  Stipulation for Continuance
                                                                                               08-0361 OWW

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      2         (2)        Title 18, United States Code, Section 3161(h)(8)(B)(ii): that is
      3                    unreasonable to expect adequate preparation for pre-trial proceedings or
      4                    for the trial itself with the time limits established due to the complexity of
      5                    the case.
      6                                            Respectfully submitted,
      7   Dated: February 25, 2010
      8                                                  /s/ Anthony P. Capozzi
      9
                                                   ANTHONY P. CAPOZZI,
                                                   Attorney for Defendant,
     10                                            DAVINDER SINGH
     11

     12   Dated: February 25, 2010
                                                          /s/ Karen A. Escobar
     13
                                                   KAREN A. ESCOBAR
     14
                                                   Assistant United States Attorney

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                                                                                    Stipulation for Continuance
                                                                                                 08-0361 OWW

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      1                                           ORDER
      2

      3         IT IS SO ORDERED. Good cause having been shown, the hearing set for Monday,
      4   March 1, 2010 is vacated and continued to Monday, March 29, 2010 at 9:00 a.m.
      5         Additionally, time shall be excluded by stipulation from the parties and pursuant to
      6   18 USC §§ 3161(h)(8)(A) and 3161(h)(8)(B)(ii).
      7

      8   Dated: February 25, 2010
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     10
                                                 /s/ OLIVER W. WANGER
                                                 Honorable Oliver W. Wanger
     11                                          United States District Court Judge
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                                                                                 Stipulation for Continuance
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